Case 2:10-md-02179-CJB-DPC Document 11876-11 Filed 11/20/13 Page 1 of 9




                     Exhibit J
Case 2:10-md-02179-CJB-DPC Document 11876-11 Filed 11/20/13 Page 2 of 9




 TO:	   	            Honorable	  Sally	  Shushan	  
 	  
 FROM:	               Class	  Counsel	  
 	  
 Matter:	             In	  re:	  	  Deepwater	  Horizon,	  MDL	  No.	  2179	  
 	  
 Subject:	            Supplemental	  Information	  Program	  
 	  
 Date:	   	          February	  19,	  2013	  
 _________________________________________________________________________________________________	  
 	  
 	         Through	  this	  memorandum,	  Class	  Counsel	  provides	  its	  responses	  to	  BP’s	  
 comments,	  concerns	  and	  objections	  to	  Class	  Counsel’s	  proposed	  plan	  for	  the	  
 Supplemental	  Information	  Program.	  	  Keeping	  in	  mind	  that	  BP	  does	  not	  have	  the	  
 right	  to	  approve	  the	  Program	  and	  is	  only	  allowed	  to	  review	  and	  comment,	  Class	  
 Counsel	  continues	  to	  believe	  that	  the	  proposed	  Supplemental	  Information	  Program	  
 is	  “consistent	  with	  the	  goals	  of	  the	  Economic	  Class	  Action	  Settlement	  Notice	  
 Program”	  and	  should	  be	  approved.	  
 	  
 	         BP’s	  comments	  and	  objections	  completely	  ignore	  the	  fact	  that:	  
 	  
            • The	  entire	  purpose	  and	  intent	  of	  the	  Supplemental	  Information	  Program	  
                  was	  and	  is	  to	  motivate	  potentially	  eligible	  people	  and	  businesses	  to	  
                  submit	  claims;	  
            • There	  is	  nothing	  “misleading”	  about	  encouraging	  a	  business	  that	  may	  be	  
                  eligible	  for	  payment	  to	  submit	  a	  claim;	  
            • There	  is	  nothing	  “fraudulent”	  about	  a	  business	  who	  meets	  the	  objective	  
                  criteria	  set	  forth	  in	  the	  Business	  Economic	  Loss	  Causation	  and	  
                  Compensation	  Framework	  submitting	  a	  claim;	  
            • The	  only	  reason	  Class	  Counsel	  agreed	  to	  the	  “disclaimer”	  on	  the	  television	  
                  advisory	  which	  had	  been	  scripted	  by	  and	  recorded	  by	  Mr.	  Juneau	  was	  to	  
                  expedite	  approval	  and	  to	  avoid	  having	  to	  potentially	  re-­‐shoot	  the	  spot;	  
                  Class	  Counsel	  never	  agreed	  with	  BP	  that	  the	  “disclaimer”	  was	  in	  any	  way	  
                  necessary.	  
 	  
 A.	       Supplemental	  Information	  Program	  Should	  Not	  Be	  Deferred	  
 	  
            1. BP’s	  Comment:	  	  The	  Supplemental	  Information	  Program	  Should	  be	  
                  Deferred	  until	  such	  Time	  as	  the	  BEL	  Framework	  Dispute	  is	  Resolved	  
                  	  
            2. Class	  Counsel’s	  Response:	  	  The	  Supplemental	  Information	  Program	  and	  
                  the	  BEL	  Framework	  Dispute	  are	  Not	  Related	  and	  the	  Supplemental	  
                  Information	  Program	  Should	  Not	  be	  Deferred	  
            	  
Case 2:10-md-02179-CJB-DPC Document 11876-11 Filed 11/20/13 Page 3 of 9




               The	  dispute	  surrounding	  the	  implementation	  of	  Exhibit	  4C	  (which	  also	  
 impacts	  4A	  and	  4B)	  has	  no	  bearing	  on	  the	  Supplemental	  Information	  Program.	  	  
 While	  Class	  Counsel	  believes	  that	  BP	  is	  attempting	  to	  re-­‐write	  the	  settlement	  
 agreement	  through	  its	  proposals,	  the	  dispute	  itself	  is	  not	  about	  the	  types	  of	  
 businesses	  eligible	  to	  file	  claims	  for	  compensation	  in	  the	  Settlement	  Program.	  	  That	  
 dispute	  pertains	  primarily	  to	  the	  methodology	  for	  making	  calculations	  under	  the	  
 settlement	  agreement.	  	  In	  contrast,	  each	  of	  the	  business	  types	  highlighted	  in	  the	  
 Supplemental	  Information	  Program	  is	  unquestionably	  eligible	  to	  file	  a	  claim.	  	  These	  
 are	  not	  excluded	  businesses.	  	  Whether	  these	  businesses	  meet	  the	  objective	  
 causation	  test	  and	  qualify	  for	  compensation	  will	  depend	  on	  the	  respective	  financial	  
 statements	  for	  that	  business	  and	  the	  manner	  of	  calculation;	  however,	  there	  is	  no	  
 question	  they	  are	  eligible	  to	  file	  and	  have	  that	  determination	  made	  by	  the	  Program.	  	  
 This	  is	  the	  exact	  message	  of	  the	  Supplemental	  Information	  Program:	  	  If	  in	  doubt,	  file	  
 a	  claim.	  
               	  
 B.	          BP	  Overstates	  the	  Agreement	  with	  Class	  Counsel	  on	  the	  Script	  from	  Mr.	  
               Juneau	  
               	  
               1. BP	  Comment:	  	  The	  Disclaimer	  Agreed	  to	  for	  the	  Juneau	  Spot	  Should	  be	  
                     Included	  in	  All	  Supplemental	  Information	  Program	  Spots	  
                     	  
               2. Class	  Counsel	  Response:	  	  Class	  Counsel	  Did	  Not	  Agree	  to	  Include	  the	  
                     Disclaimer	  in	  All	  Supplemental	  Information	  Program	  Spots	  and	  Only	  
                     Agreed	  to	  Include	  the	  Disclaimer	  in	  the	  Juneau	  Spot	  for	  specific	  and	  
                     particularized	  reasons.	  	  Further,	  the	  disclaimer,	  as	  requested	  by	  BP,	  could	  
                     mislead	  class	  members	  into	  believing	  they	  are	  not	  eligible	  to	  file	  claims.	  
 	  
               BP	  overstates	  the	  agreement	  with	  Class	  Counsel	  pertaining	  to	  the	  
 advertisement	  recorded	  by	  Mr.	  Juneau.	  	  Class	  Counsel	  agreed	  that	  the	  ad	  would	  
 refer	  solely	  to	  the	  deepwaterhorizonsettlement.com	  website.	  	  As	  Class	  Counsel	  
 understands,	  the	  Court	  determined	  that	  the	  Supplemental	  Information	  Program	  
 should	  only	  reference	  the	  Program	  website,	  and	  Class	  Counsel	  has	  made	  that	  change	  
 in	  the	  advertisement.	  	  However,	  the	  agreement	  as	  to	  the	  superimposed	  text	  
 (“Damages	  must	  be	  a	  result	  of	  the	  Deepwater	  Horizon	  incident	  as	  provided	  in	  the	  
 Deepwater	  Horizon	  Economic	  and	  Property	  Damages	  Settlement	  Agreement”)	  was	  
 only	  for	  the	  advertisement	  produced	  with	  Mr.	  Juneau.	  	  Class	  Counsel	  made	  such	  a	  
 concession	  given	  Mr.	  Juneau’s	  role	  in	  the	  implementation	  of	  the	  settlement	  
 agreement	  pursuant	  to	  Court	  Order	  and	  to	  expedite	  approval	  of	  the	  Juneau	  
 advertisement	  without	  having	  to	  inconvenience	  Mr.	  Juneau	  any	  further.	  	  Class	  
 Counsel	  did	  not	  and	  does	  not	  agree	  that	  the	  language	  is	  necessary	  or	  that	  it	  
 “convey[s]	  the	  causation	  requirement	  for	  economic	  loss	  claims”	  as	  suggested	  by	  BP.	  	  	  
               	  
               The	  causation	  requirement	  for	  economic	  loss	  claims	  is	  set	  out	  in	  Exhibit	  4B	  
 and	  does	  not	  require	  a	  subjective	  view	  of	  the	  cause	  of	  any	  class	  member’s	  loss.	  	  The	  
 causation	  requirement	  is	  intentionally	  objective.	  	  If	  a	  class	  member	  meets	  the	  
 objective	  financial	  test,	  that	  class	  member	  suffered	  damages	  as	  a	  result	  of	  the	  
Case 2:10-md-02179-CJB-DPC Document 11876-11 Filed 11/20/13 Page 4 of 9




 incident.	  	  Requiring	  this	  language	  in	  all	  other	  supplemental	  informational	  pieces	  
 could	  potentially	  cause	  eligible	  class	  members	  to	  believe	  they	  do	  not	  have	  claims	  as	  
 part	  of	  this	  settlement.	  	  Given	  the	  Class	  Notice,	  Final	  Approval	  and	  that	  BP	  has	  
 gotten	  a	  class-­‐wide	  release	  from	  all	  such	  businesses,	  such	  an	  impression	  should	  be	  
 avoided.	  
 	  
 C.	          Tbe	  Proposed	  Content	  of	  Supplemental	  Information	  Program	  Spots	  and	  
               Communications	  are	  Accurate	  and	  Consistent	  with	  the	  purpose	  of	  the	  
               Class	  Notice	  Plan	  
 	  
               1. BP’s	  Comment:	  	  The	  Content	  of	  the	  Proposed	  Spots	  are	  Misleading	  and	  
                     Could	  Cause	  Class	  Members	  Who	  Will	  Not	  Ultimately	  Qualify	  to	  File	  
                     Claims	  
                     	  
               2. Class	  Counsel	  Response:	  	  The	  Communications	  Proposed	  Are	  Accurate	  
                     and	  Consistent	  with	  the	  Class	  Notice	  Program.	  	  Further,	  All	  Class	  
                     Members	  Should	  Be	  Informed	  that	  they	  are	  Eligible	  to	  File	  Claims.	  	  Each	  
                     Class	  Member	  has	  a	  Right	  to	  Have	  Its	  Claim	  Viewed	  in	  the	  Best	  Light	  by	  
                     the	  Claims	  Administrator	  Based	  Upon	  its	  Financial	  Information.	  	  Whether	  
                     the	  Class	  Member	  Ultimately	  Qualifies	  for	  Payment	  is	  Not	  Relevant	  to	  the	  
                     Supplemental	  Information	  Program	  
 	  
               The	  proposed	  Supplemental	  Information	  Program	  is	  accurate	  and	  will	  not	  
 lead	  to	  confusion	  or	  create	  unrealistic	  expectations.	  	  Each	  piece	  of	  the	  program	  sets	  
 out	  the	  basic	  premise	  of	  the	  settlement;	  eligibility	  for	  all	  class	  members	  is	  
 determined	  by	  an	  objective	  formula	  (or	  is	  presumed).	  	  The	  Program	  does	  not	  allude	  
 to	  or	  state	  any	  compensation	  figures	  to	  even	  suggest	  the	  level	  of	  compensation	  to	  
 which	  each	  class	  member	  may	  be	  entitled.	  	  Instead,	  the	  plan	  simply	  reinforces	  the	  
 Class	  Notice	  in	  that	  it	  informs	  each	  and	  every	  class	  member,	  including	  those	  in	  the	  
 furthest	  points	  of	  Zone	  D,	  a	  formula	  is	  in	  place	  that	  will	  determine	  their	  eligibility	  for	  
 compensation.	  	  These	  statements	  are	  true	  and	  cannot	  be	  disputed.	  	  While	  BP	  may	  
 prefer	  that	  these	  claimants	  not	  file	  claims,	  its	  argument	  that	  Class	  Counsel’s	  
 proposal	  is	  inaccurate	  or	  confusing	  is	  misplaced.	  	  	  
 	  
 Written	  Script	  for	  the	  “Juneau”	  television	  spot	  
 	  
               An	  updated	  script	  as	  requested	  by	  BP	  is	  attached	  as	  Exhibit	  A.	  	  However,	  
 Class	  Counsel	  would	  point	  out	  that	  BP	  and	  the	  Court	  were	  provided	  the	  actual	  video	  
 of	  the	  advertisement.	  	  The	  requested	  changes	  were	  made	  in	  the	  video,	  and	  the	  video	  
 is	  the	  means	  of	  communication	  to	  class	  members	  –	  not	  the	  written	  script.	  	  Still,	  to	  
 cure	  this	  harmless	  error,	  Class	  Counsel	  has	  attached	  the	  revised	  and	  updated	  script.	  
 	  
 	  
 	  
 	  
Case 2:10-md-02179-CJB-DPC Document 11876-11 Filed 11/20/13 Page 5 of 9




 The	  proposed	  television,	  radio,	  and	  print	  spots	  and	  scripts	  are	  accurate	  as	  written	  and	  
 do	  not	  require	  a	  “disclaimer”	  
 	  
 	                                                    Again,	  Class	  Counsel	  did	  not	  agree	  to	  include	  the	  negotiated	  language	  for	  the	  
 Juneau	  spot	  into	  all	  other	  advertisements	  in	  the	  Supplemental	  Information	  Program.	  	  
 BP’s	  argument	  to	  include	  such	  language	  is,	  in	  fact,	  counter	  to	  the	  purpose	  of	  the	  
 Supplemental	  Plan.	  	  Class	  Counsel’s	  goal	  is	  to	  reinforce	  the	  Class	  Notice	  and	  further	  
 stress	  that	  causation	  is	  an	  objective	  requirement	  established	  by	  the	  standards	  and	  
 formulas	  of	  Exhibit	  4B.	  	  BP	  now	  desires	  to	  insert	  a	  subjective	  causation	  requirement	  
 as	  to	  whether	  a	  class	  member	  believes	  their	  losses	  were	  subjectively	  caused	  by	  the	  
 incident.	  	  BP’s	  suggestion	  is	  not	  consistent	  with	  the	  negotiated	  settlement	  and	  
 serves	  only	  to	  attempt	  to	  minimize	  the	  number	  of	  class	  members	  that	  file	  claims.	  	  
 This	  attempt	  is	  untenable	  in	  this	  objective	  class	  action	  settlement	  –	  particularly	  
 given	  the	  class-­‐wide	  release.	  
 	  
 	                                                    In	  light	  of	  the	  above,	  Class	  Counsel	  does	  not	  believe	  BP’s	  language	  should	  be	  
 added	  to	  any	  of	  the	  other	  advertisements.	  	  Further,	  it	  is	  not	  possible	  to	  add	  this	  
 language	  to	  the	  radio	  spots	  as	  each	  of	  these	  spots	  is	  timed	  to	  fit	  within	  a	  specific	  
 timeframe.	  	  
 	  
 All	  of	  the	  statements	  in	  the	  advertisements	  are	  accurate	  and	  consistent	  with	  the	  
 known	  facts	  and	  terms	  of	  the	  settlement	  agreement	  
 	  
 	                                                    BP’s	  comment	  as	  to	  the	  “tens	  of	  thousands	  of	  businesses	  and	  organizations	  
 may	  qualify”	  is	  without	  merit.	  	  Class	  Counsel	  is	  not	  required	  to	  submit	  empirical	  
 data	  proving	  tens	  of	  thousands	  of	  business	  may	  qualify.	  	  There	  is	  no	  question	  that	  
 tens	  of	  thousands	  (and	  more	  likely	  hundreds	  of	  thousands)	  of	  businesses	  are	  
 eligible	  to	  file	  and	  may	  qualify.	  	  In	  fact,	  as	  of	  February	  11,	  2013,	  over	  125,000	  claim	  
 forms	  on	  behalf	  of	  businesses	  and	  organizations	  have	  been	  submitted.1	  	  The	  fact	  that	  
 these	  claims	  have	  been	  submitted	  prior	  to	  any	  Supplemental	  Information	  Program	  
 implies	  that	  indeed,	  “tens	  of	  thousands	  of	  businesses	  and	  organizations	  may	  
 qualify.”	  	  Thus,	  the	  statement	  at	  issue	  is	  true.	  	  Importantly,	  the	  statement	  does	  not	  
 guarantee	  that	  any	  of	  these	  businesses	  will	  actually	  qualify.	  	  That	  is	  not	  the	  point	  of	  
 the	  advertisement.	  	  The	  point	  is	  to	  further	  reinforce	  the	  Class	  Notice	  so	  that	  these	  
 businesses	  perform,	  or	  submit	  the	  claim	  to	  the	  Settlement	  Program	  so	  it	  can	  
 perform,	  the	  objective	  causation	  analysis	  prescribed	  in	  Exhibit	  4B.	  	  Class	  Counsel’s	  
 proposed	  language	  should	  be	  approved.	  
 	  
 	                                                    BP	  has	  also	  commented	  that	  the	  statement	  that	  “BP	  has	  agreed	  that	  
 businesses	  and	  organizations	  are	  eligible	  for	  payment	  from	  the	  billions	  in	  the	  
 Deepwater	  Horizon	  Economic	  Settlement	  fund”	  implies	  that	  the	  fund	  may	  be	  
 limited.	  	  Class	  Counsel	  proposes	  the	  following	  language	  to	  cure	  this	  concern	  as	  Class	  
 Counsel	  does	  not	  intend	  to	  imply	  a	  limited	  fund:	  	  “BP	  has	  agreed	  that	  businesses	  and	  
 organizations	  may	  be	  eligible	  for	  payment	  from	  the	  Deepwater	  Horizon	  Economic	  
 	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
 1	  See	  Claims	  Administrator’s	  Status	  Report	  #6,	  (Feb.	  11,	  2013).	  
Case 2:10-md-02179-CJB-DPC Document 11876-11 Filed 11/20/13 Page 6 of 9




 Settlement	  Fund.	  	  Even	  ones	  not	  directly	  on	  the	  Gulf.	  	  Find	  out	  if	  you	  qualify	  for	  this	  
 uncapped	  settlement	  estimated	  to	  be	  worth	  billions	  at	  
 deepwaterhorizonsettlements.com”	  Further,	  Class	  Counsel	  is	  happy	  to	  refer	  to	  BP’s	  
 own	  public	  estimates	  of	  the	  settlement	  value	  should	  BP	  wish.	  
 	  
 Class	  Members	  should	  be	  encouraged	  to	  file	  claims	  as	  a	  default	  as	  all	  class	  members,	  
 even	  those	  who	  do	  not	  qualify	  for	  payment,	  have	  provided	  BP	  with	  a	  class-­wide	  release.	  
 	             	  
 	             BP	  has	  focused	  on	  the	  language	  “when	  in	  doubt,	  file	  a	  claim”	  to	  argue	  that	  
 class	  members	  should	  not,	  as	  a	  default,	  file	  claims	  with	  the	  Program	  and	  that	  such	  
 language	  ignores	  the	  causation	  requirement.	  	  Again,	  the	  causation	  requirement	  is	  an	  
 objective	  standard	  (in	  a	  presumed	  zone	  with	  a	  presumed	  zone	  business)	  or	  formula.	  	  
 There	  is	  not	  a	  subjective,	  mental	  impression	  requirement.	  	  Representing	  that	  such	  a	  
 requirement	  exists	  misrepresents	  to	  class	  members	  their	  rights	  under	  the	  
 settlement	  agreement.	  	  BP	  is	  attempting	  to	  hide	  the	  ball.	  	  BP	  has	  a	  class-­‐wide	  release	  
 but	  does	  not	  want	  class	  members	  to	  file	  a	  claim.	  	  Further,	  the	  settlement	  agreement	  
 was	  negotiated	  and	  implemented	  for	  the	  exact	  purpose	  of	  allowing	  class	  members	  
 to	  file	  claims	  as	  a	  default.	  	  	  
 	  
                One	  of	  the	  principal	  settlement	  benefits	  to	  class	  members	  was	  the	  
 requirement	  that	  the	  Program	  ensure	  that	  the	  maximum	  amount	  of	  recovery	  is	  
 provided	  to	  each	  class	  member.	  	  A	  class	  member	  is	  not	  required	  to	  have	  a	  detailed	  
 knowledge	  of	  the	  intricacies	  of	  the	  causation	  requirement.	  	  While	  it	  was	  intended	  
 that	  the	  causation	  requirement	  be	  a	  simple	  formula	  for	  a	  class	  member	  to	  
 understand	  and	  determine	  if	  he	  or	  she	  is	  eligible	  for	  payment,	  it	  is	  not	  required	  that	  
 they	  do	  so.	  	  Instead,	  the	  Settlement	  Program	  will	  calculate	  the	  claim	  de	  novo	  and	  
 ensure	  that	  the	  best	  case	  is	  presented	  for	  a	  class	  member	  to	  be	  found	  eligible	  and	  to	  
 maximize	  compensation.	  	  In	  fact,	  the	  Claim	  Form	  even	  allows	  a	  class	  member	  to	  
 choose	  “Claims	  Administrator	  Selected”	  as	  an	  option	  for	  the	  Benchmark	  and	  
 Compensation	  Period.	  	  Thus,	  the	  idea	  that	  businesses	  should	  not	  default	  to	  filing	  a	  
 claim	  is	  simply	  wrong.	  	  Rather,	  the	  opposite	  is	  true:	  	  if	  a	  business	  is	  unsure	  of	  
 whether	  it	  meets	  the	  eligibility	  requirements,	  it	  should	  be	  encouraged,	  as	  a	  default,	  
 to	  file	  a	  claim.	  
 	  
 BP	  misunderstands	  the	  proposed	  use	  of	  Twitter	  “Tweets”	  and	  the	  proposed	  language	  is	  
 accurate	  and	  consistent	  with	  the	  purpose	  of	  the	  Class	  Notice	  
 	  
 	             BP’s	  first	  comments	  as	  to	  the	  use	  of	  Twitter	  reflect	  a	  misunderstanding	  of	  
 how	  Twitter	  operates.	  	  For	  that,	  Class	  Counsel	  accepts	  responsibility.	  	  	  A	  Tweet	  is	  
 limited	  to	  140	  characters.	  	  	  The	  website	  link	  referenced	  in	  a	  tweet	  counts	  against	  the	  
 140	  character	  limit.	  	  Thus,	  displaying	  www.deepwaterhorizonsettlement.com	  would	  
 require	  a	  substantial	  portion	  of	  the	  140	  character	  limit.	  	  To	  overcome	  this	  limit,	  
 software	  presently	  available	  on	  the	  internet,	  like	  that	  provided	  on	  tinyurl.com,	  can	  
 take	  a	  long	  website	  name	  like	  the	  name	  above	  and	  condense	  it	  to	  a	  much	  shorter	  
 name,	  like	  http:/bit.ly/TUuRup.	  	  This	  allows	  a	  Tweet	  to	  focus	  more	  information	  on	  
 the	  content	  of	  the	  tweet	  rather	  than	  the	  website.	  	  However,	  by	  clicking	  on	  the	  
Case 2:10-md-02179-CJB-DPC Document 11876-11 Filed 11/20/13 Page 7 of 9




 website,	  a	  user	  will	  be	  directed	  to	  the	  Settlement	  Program	  site,	  
 www.deepwaterhorizonsettlement.com.	  	  In	  short,	  the	  Settlement	  Program	  website	  
 is	  the	  site	  linked;	  however,	  the	  appearance	  on	  the	  link	  has	  been	  condensed	  to	  fit	  
 within	  the	  140	  character	  limit.	  
 	  
 	            Given	  the	  140	  character	  limits,	  it	  is	  not	  possible	  to	  implement	  BP’s	  
 suggestions.	  	  Further,	  BP’s	  suggestions	  are	  not	  necessary	  as	  the	  statements	  are	  
 consistent	  with	  the	  Class	  Notice	  and	  the	  Settlement	  Agreement.	  	  Further,	  the	  
 website	  to	  which	  recipients	  are	  directed	  is	  the	  Settlement	  Program	  website.	  	  It	  is	  
 inconceivable	  that	  a	  simple	  tweet	  that	  directs	  class	  members	  to	  the	  Settlement	  
 Program	  site	  could	  be	  misleading	  or	  confusing.	  
 	  
 Internet	  Banner	  Ads	  Are	  Accurate	  and	  Not	  Misleading	  
 	  
 	            Most	  of	  BP’s	  comments	  and	  suggestions	  are	  repeats	  of	  its	  comments	  and	  
 objections	  on	  other	  portions	  of	  the	  Supplemental	  Information	  Program	  and	  are	  
 addressed	  above.	  	  However,	  BP	  has	  pointed	  out	  that	  the	  Google	  banner	  ads	  state	  
 “qualify	  for	  a	  settlement	  from	  BP”	  and	  complains	  that	  this	  is	  factually	  misleading.	  	  
 The	  intent	  with	  this	  language	  was	  to	  use	  plain	  English	  that	  all	  class	  members	  clearly	  
 comprehend.	  	  While	  most	  class	  members	  may	  understand	  the	  term	  “compensation,”	  
 the	  term	  “settlement”	  is	  certainly	  better	  understood	  and	  also	  implies	  the	  legal	  
 nature	  of	  this	  proceeding.	  	  To	  satisfy	  BP’s	  comment,	  Class	  Counsel	  could	  edit	  the	  
 “qualify	  for	  a	  settlement	  from	  BP”	  language	  to	  “qualify	  for	  payment	  from	  BP”	  or	  
 possibly	  “qualify	  for	  payment	  under	  the	  BP	  Settlement.”	  	  Nearly	  all	  of	  the	  other	  BP	  
 comments	  have	  been	  addressed	  in	  detail	  above	  or	  are	  not	  possible	  within	  the	  
 limited	  space	  of	  an	  internet	  banner	  ad.	  	  Again,	  the	  ad	  clicks	  straight	  through	  to	  the	  
 Settlement	  Program	  website	  and	  is	  designed	  to	  capture	  attention	  in	  keeping	  with	  
 the	  primary	  purpose	  of	  the	  Supplemental	  Information	  Program.	  	  Class	  Counsel’s	  
 proposal	  satisfies	  that	  purpose	  and	  is	  consistent	  with	  the	  Class	  Notice	  program.	  
 	  
 Proposed	  Direct	  Call	  Program	  
 	  
 	            Most	  of	  BP’s	  comments	  as	  to	  the	  proposed	  direct	  call	  program	  are,	  again,	  
 without	  merit.	  	  For	  instance,	  BP	  questions	  how	  Class	  Counsel	  would	  identify	  which	  
 businesses	  are	  in	  the	  class.	  	  Class	  Counsel	  has	  the	  ability,	  as	  BP	  is	  fully	  aware	  given	  
 the	  Class	  Notice	  and	  requirements	  of	  a	  class	  action,	  to	  determine	  which	  businesses	  
 are	  in	  the	  class.	  	  Perhaps,	  BP	  intended	  something	  else	  but	  such	  a	  statement	  seems	  
 particularly	  odd	  in	  the	  present	  context	  of	  a	  finally	  approved	  settlement	  of	  an	  
 identifiable	  class.	  
 	  
 	            Further,	  as	  set	  out	  above,	  the	  inaccuracies	  BP	  states	  regarding	  the	  script	  are	  
 meritless.	  	  Still,	  Class	  Counsel	  understands	  BP’s	  concerns	  and	  comments	  regarding	  
 the	  Direct	  Call	  Program	  and	  would	  like	  to	  attempt	  to	  resolve	  these	  issues	  with	  BP.	  	  
 In	  that	  light,	  Class	  Counsel	  proposes	  that	  it	  be	  allowed	  to	  further	  work	  with	  BP	  to	  
 refine	  the	  Direct	  Call	  Program.	  	  Notably,	  the	  entirety	  of	  the	  other	  components	  of	  the	  
 Supplemental	  Information	  Program	  can	  stand	  on	  their	  own	  and	  should	  be	  approved.	  	  
Case 2:10-md-02179-CJB-DPC Document 11876-11 Filed 11/20/13 Page 8 of 9




 If	  BP	  and	  Class	  Counsel	  are	  able	  to	  reach	  agreement	  on	  the	  Direct	  Call	  Program,	  
 Class	  Counsel	  will	  submit	  such	  agreement	  to	  the	  Court	  for	  approval.	  
 	  
 D.	          Class	  Counsel	  has	  Provided	  Sufficient	  Detail	  to	  BP	  to	  Meaningfully	  
               Comment	  on	  the	  Supplemental	  Information	  Program	  
 	  
               1. BP’s	  Comment:	  	  Class	  Counsel	  Has	  Not	  Provided	  Enough	  Detail	  to	  
                      Meaningfully	  Comment	  on	  the	  Details	  of	  the	  Proposed	  Settlement	  
                      Program	  
                      	  
               2. Class	  Counsel	  Response:	  	  Class	  Counsel	  has	  Provided	  Sufficient	  Detail	  to	  
                      Allow	  BP	  to	  Exercise	  its	  Rights	  Under	  the	  Settlement	  Agreement	  to	  
                      Comment	  on	  the	  Proposed	  Supplemental	  Information	  Program.	  	  
 	  
               BP	  has	  misunderstood	  some	  of	  the	  statements	  in	  Class	  Counsel’s	  memo	  
 describing	  the	  Supplemental	  Information	  Plan.	  	  As	  a	  further	  explanation,	  Class	  
 Counsel’s	  comment	  on	  the	  radio	  scripts	  –	  particularly	  the	  language	  that	  sets	  out	  the	  
 scripts	  are	  “exemplars	  of	  the	  audio	  that	  would	  run”	  is	  not	  an	  indication	  that	  Class	  
 Counsel	  intends	  to	  change	  the	  scripts	  outside	  of	  the	  manner	  described	  in	  the	  
 settlement	  agreement.	  	  The	  statement	  simply	  conveys	  that	  Class	  Counsel	  intends	  to	  
 have	  radio	  spots	  that	  highlight	  different	  businesses	  that	  may	  qualify.	  	  The	  only	  edit	  
 would	  be	  to	  the	  business	  type.	  	  No	  other	  language	  would	  change.	  	  As	  the	  business	  
 types	  that	  are	  eligible	  to	  file	  a	  claim	  are	  readily	  ascertainable	  and	  not	  objectionable,	  
 BP’s	  concern	  is	  baseless.	  	  To	  be	  clear,	  there	  would	  be	  no	  wholesale	  re-­‐write	  of	  the	  
 radio	  script	  without	  allowing	  BP	  to	  comment	  and	  submitting	  to	  the	  Court	  for	  
 approval.	  	  Class	  Counsel	  fully	  understands	  its	  obligations	  under	  the	  settlement	  
 agreement.	  
 	  
 	            As	  to	  social	  media,	  BP	  misunderstands	  Class	  Counsel’s	  comment	  on	  a	  
 “customized	  web	  experience.”	  	  The	  banner	  ads,	  tweets	  and	  other	  social	  media	  set	  
 out	  in	  the	  plan	  would	  not	  change.	  	  The	  “customized	  web	  experience”	  was	  simply	  a	  
 description	  of	  the	  everyday	  use	  of	  the	  internet.	  	  Any	  user	  of	  the	  internet	  has	  a	  
 somewhat	  customized	  experience.	  	  The	  banner	  ads	  seen	  on	  pages	  visited	  are	  
 different	  for	  different	  internet	  users	  based	  upon	  searches	  performed	  and	  websites	  
 visited	  as	  determined	  by	  cookies	  and	  other	  information.	  	  This	  information	  is	  stored	  
 on	  each	  internet	  user’s	  computer	  and	  internet	  banner	  ads	  that	  should	  interest	  the	  
 specific	  internet	  user	  based	  upon	  information	  on	  their	  computer	  will	  appear	  on	  
 pages	  visited.	  	  This	  is	  all	  that	  was	  meant	  by	  the	  customized	  web	  experience.	  
 	  
 	            Class	  Counsel	  is	  unsure	  of	  any	  other	  additional	  detail	  it	  can	  provide	  BP.	  	  BP	  
 has	  been	  provided,	  for	  some	  time	  now,	  the	  scripts,	  actual	  spots,	  banner	  ads,	  print	  
 ads,	  budgets,	  buys,	  proposed	  tweets	  and	  all	  other	  components	  of	  the	  supplemental	  
 program.	  	  BP’s	  statement	  that	  it	  has	  not	  received	  enough	  information	  to	  allow	  a	  
Case 2:10-md-02179-CJB-DPC Document 11876-11 Filed 11/20/13 Page 9 of 9




 meaningful	  review	  is	  without	  merit.2	  	  Many	  of	  BP’s	  suggestions	  are	  factually	  
 inaccurate	  and	  serve	  as	  an	  attempt	  to	  depress	  the	  number	  of	  claims	  filed.	  	  Class	  
 Counsel’s	  purpose	  is	  simple.	  	  To	  reinforce	  the	  idea	  that	  all	  businesses	  and	  
 individuals,	  other	  than	  excluded	  businesses	  and	  individuals,	  may	  qualify	  for	  
 payment	  in	  all	  areas	  of	  the	  Class.	  	  The	  Supplemental	  Information	  Plan	  proposed	  by	  
 Class	  Counsel	  meets	  that	  goal	  in	  a	  manner	  that	  accurately	  depicts	  the	  settlement	  
 agreement	  and	  is	  consistent	  with	  Class	  Notice.	  
 	  
 	        The	  proposed	  Supplemental	  Information	  Program	  is	  accurate	  and	  consistent	  
 with	  the	  purpose	  of	  the	  Class	  Notice	  Program.	  	  As	  such,	  it	  should	  be	  approved	  as	  
 proposed	  by	  Class	  Counsel	  with	  the	  exception	  of	  the	  Direct	  Call	  Program	  –	  which	  
 Class	  Counsel	  is	  willing	  to	  discuss	  further	  with	  BP.	  	  




 	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
 2	  For	  instance,	  in	  its	  memo	  BP	  parenthetically	  refers	  to	  the	  Juneau	  ad	  being	  shot	  

 prior	  to	  BP’s	  review	  of	  the	  script.	  	  See	  BP	  Memo	  at	  3.	  	  Any	  implication	  that	  Class	  
 Counsel	  somehow	  orchestrated	  anything	  underhanded	  in	  the	  production	  of	  this	  ad	  
 is	  incorrect.	  	  As	  explained	  repeatedly	  by	  Class	  Counsel,	  the	  timing	  of	  the	  shoot	  was	  
 done	  at	  Mr.	  Juneau’s	  request,	  out	  of	  courtesy	  to	  his	  schedule	  and	  availability,	  and	  the	  
 ad	  that	  was	  cut	  was	  entirely	  based	  upon	  a	  script	  Mr.	  Juneau	  personally	  helped	  write	  
 and	  approve.	  
